          Case 1:18-cr-02945-WJ Document 622 Filed 02/14/23 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                               CR 18-2945-WJ

SIRAJ IBN WAHHAJ,
HUJRAH WAHHAJ,
SUBHANAH WAHHAJ, and
LUCAS MORTON,

               Defendants.



  ORDER GRANTING UNITED STATES’ MOTION FOR LAFLER/FRYE HEARING

       THIS MATTER is before the Court on the United States’ Motion for a Lafler/Frye

Hearing, which seeks an order directing a United States Magistrate Judge to inquire with the

defendants, Siraj Ibn Wahhaj, Hujrah Wahhaj, Subhanah Wahhaj, and Lucas Morton

(hereinafter, “Defendants”), and their attorneys, Marc Robert, Thomas Clark, Donald

Kochersberger, Marshall Ray, Justine Fox-Young, Ryan Villa, and Joseph Shattuck as stand-by

counsel for Lucas Morton, whether defense counsel communicated to Defendants the plea offers

extended by the United States in this case. See Doc. 619. The Court finds the motion is well

taken and should be granted.

       IT IS THEREFORE ORDERED that the United States’ Motion for a Lafler/Frye

Hearing is referred to United States Magistrate Judge Laura Fashing to conduct a hearing at

which Magistrate Judge Fashing shall inquire on the record whether defense counsel, and stand

by counsel for pro se Defendant Lucas Morton, informed the four above-named Defendants of

the United States’ plea offers and whether Defendants chose to reject the offers with full
          Case 1:18-cr-02945-WJ Document 622 Filed 02/14/23 Page 2 of 2




awareness of their terms.

       IT IS FURTHER ORDERED that Magistrate Judge Fashing shall make the

prosecution’s proposed plea agreements sealed exhibits at the hearing and verify that Defendants

and defense counsel discussed the terms of the plea agreements before rejecting the United

States’ proposed resolution.

       The date and time of the Lafler/Frye Hearing shall be determined by Judge Fashing and

the hearing set by separate notice.



                                            __________________________________
                                            WILLIAM P. JOHNSON
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                               2
